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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
              v.                          )      Criminal No. 18-cr-170 (KBJ)
                                          )
JAMES A. WOLFE,                           )
                                          )
              Defendant.                  )
                                          )

                                         ORDER

       The parties appeared before this Court for a status conference on July 26, 2018.

During the conference, the parties represented that they needed additional time to

exchange and review discovery materials. Given this representation, the Court found

that it was in the interests of justice to exclude from the Speedy Trial Act calculation

the time between the July 26, 2018, status conference and the next status conference in

this matter, which is scheduled for August 23, 2018. Accordingly, it is hereby

       ORDERED that the period from July 26, 2018 through August 23, 2018,

inclusive, is excluded from the Speedy Trial calculation for good cause shown, insofar

as the resulting delay fulfills the ends of justice, and taking such action outweighs the

best interests of the public and the defendant in a speedy trial.


Date: July 27, 2018                              Ketanji Brown Jackson
                                                 KETANJI BROWN JACKSON
                                                 United States District Judge
